                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                               DOCKET NO. 3:07-CV-00411-FDW
                                  (3:96-CR-00134-FDW-1)


 TYRONE SIFFORD,                                    )
                                                    )
                 Petitioner,                        )
                                                    )
         vs.                                        )                    ORDER
                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                 Respondent.                        )
                                                    )

       THIS MATTER comes now before the Court upon Petitioner’s pro se “Motion Pursuant

to Rule 60(b) of the Federal Rules of Civil Procedure” (Doc. No. 267, Case No. 3:96-CR-00134-

FDW-1).

       This is not Petitioner’s first attempt to bring a motion before this Court pursuant to Rule

60(b) of the Federal Rules of Civil Procedure. Petitioner attempted to do so on October 17, 2005.

(Doc. No. 251, Case No. 3:96-CR-00134-FDW-1). The facts of Petitioner’s case are adequately

outlined in the Court’s response to Petitioner’s earlier request, as are the Court’s reasons for denying

that request. (Doc. No. 253, Case No. 3:96-CR-00134-FDW-1). Just as he did two years ago,

Petitioner is now inappropriately attempting to use the Federal Rules of Civil Procedure as a

subterfuge to bring a renewed Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C. § 2255. The Court hereby converts Petitioner’s motion into a § 2255 motion (Doc. No. 1,

Case No. 3:07-CV-00411-FDW). As the Court stated in its previous order, Petitioner’s disguised

§ 2255 motion, having been brought without advance permission from the United States Court of




       Case 3:96-cr-00134-FDW            Document 271         Filed 10/02/07       Page 1 of 2
Appeals for the Fourth Circuit, is successive and therefore denied.

       Furthermore, in order to remove all doubt from Petitioner’s mind, the Court finds that

Petitioner’s voluminous claims, now made some ten years after his conviction, are utterly frivolous

and without merit. Petitioner’s motion is therefore DENIED.

       IT IS SO ORDERED.                        Signed: October 2, 2007




      Case 3:96-cr-00134-FDW           Document 271        Filed 10/02/07      Page 2 of 2
